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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 19-CR-00367
                                             )
JOHN RALLO,                                  )
                                             )
       Defendant.                            )

                       WAIVER OF FILING PRETRIAL MOTIONS

       COMES NOW Defendant, John Rallo, by and through counsel, and states that no

motions will be filed in the above-styled cause for the following reasons:

       a.      There are no issues that defendant wishes to raise by way of pretrial motions;

       b.      Counsel has personally discussed this matter with the defendant; and

       c.      Defendant agrees and concurs in the decision not to raise any issues by way of

               pretrial motions.

                                             Respectfully submitted,

                                             ROGERS SEVASTIANOS & BANTE, LLP



                                      By:           /s/ John P. Rogers
                                             JOHN P. ROGERS, #38743MO
                                             Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2019, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon Mr. Hal
Goldsmith, assistant United States attorney.




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